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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

MOTOROLA SOLUTIONS, INC., and
MOTOROLA SOLUTIONS MALAYSIA

AMERICA (WEST), INC.,

Defendants.

)
)
SDN. BHD., )
)
Plaintiffs, )

y Civil Action No.: 1:17-cv-01973
)

HYTERA COMMUNICATIONS ) Honorable Charles R. Norgle Sr.
CORPORATION LTD., )
HYTERA AMERICA, INC., AND )
HYTERA COMMUNICATIONS )
)
)
)
)

FINAL JUDGMENT

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A jury trial commenced in this case on November 6, 2019, and the jury reached a verdict
on February 14, 2020. In accordance with the jury verdict, FINAL JUDGMENT is hereby
ENTERED in favor of Plaintiffs and against Defendants for $345,761,156 in compensatory

damages and $418,800,000 in punitive damages.

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The Honorable Charles R. No Sr.
United States District Judge

